Case 3:07-cr-30178-SMY           Document 438 Filed 02/20/09             Page 1 of 2      Page ID
                                          #1157



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                             )
                                                      )
       Plaintiff,                                     )
                                                      )
 v.                                                   )      NO. 07-CR-30178-WDS
                                                      )
GARY STEVENSON,                                       )
HERMAN MOORE,                                         )
GREGORY HOGAN,                                        )
KENNETH TALTON, and                                   )
JENNIFER WILKINS,                                     )
                                                      )
       Defendants.                                    )

                                 MEMORANDUM & ORDER

STIEHL, District Judge:

       Before the Court is the government’s motion to sever (Doc. 421). The defendants are

charged in the Fourth Superseding Indictment with crack cocaine related offenses. Among the

charges is Conspiracy to distribute, and possess with intent to distribute crack cocaine, in

violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A). The government has indicated that as part

of its case in chief it intends to introduce into evidence statements of some of the co-defendants

who, in those statements, have implicated not only themselves, but other co-defendants, See,

Bruton v. United States, 391 U.S. 123 (1968). At the Final Pre-Trial Conference, defendants

Gregory Hogan and Jennifer Wilkins objected to the government’s motion. It is well settled that

when statements implicate a “co-defendant. . . at a joint trial during which [the co-defendant] did

not testify, the introduction of this evidence” violates right to confrontation under Bruton, 391

U.S. at 125-26. See, Suggs v. United States, 513 F.3d 675, (7th Cir. 2008). Upon review of the

record, the Court FINDS that a severance is warranted in this case.

       Accordingly, the Court GRANTS the government’s motion to sever and hereby severs
Case 3:07-cr-30178-SMY           Document 438 Filed 02/20/09            Page 2 of 2      Page ID
                                          #1158



defendants Stevenson, Talton, Moore from the remaining defendants, Hogan and Wilkins. The

Court will try the defendants as follows:

       1.      Defendant Gary Stevenson’s trial will be March 4, 2009, at 10 A.M. Any

               motions in limine, proposed jury instructions and case specific voir dire questions

               are due February 25, 2009, with responses by March 2, 2009.

       2.      Defendant Talton’s trial will be March 31, 2009, at 10 A.M. Any motions in

               limine, proposed jury instructions and case specific voir dire questions are due

               March 20, 2009, with responses by March 25, 2009.

       3.      Defendant Moore’s trial will be April 21, 2009, at 10 A.M. Any motions in

               limine, proposed jury instructions and case specific voir dire questions are due

               April 10, 2009, with responses by April 15, 2009.

       4       Defendants Hogan and Wilkins will be tried together and their trial date will be

               May12, 2009, at 10A.M. Any motions in limine, proposed jury instructions and

               case specific voir dire questions are due May 1, 2009, with responses by May 6,

               2009.



IT IS SO ORDERED.

DATE: February 20, 2009


                                                    s/ WILLIAM D. STIEHL
                                                      DISTRICT JUDGE




                                                2
